In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

Donald Nathan Coulter, Esq.
April 1, 2024
CERTIFIED ORIGINAL/COPY TRANSCRIPT

Michelle Satterfield, CCR
1955 Little River Drive
Conway, Arkansas 72034
(501)336-7414

Satterfield@conwaycorp.net

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE

PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

HAYDEN KIRBY;MIEL PARTAIN, in her own capacity

and as parent and next friend of MADELINE PARTAIN;
LETA CAPLINGER; ADAM WEBB;

ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a
WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND

and FREEDOM TO READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

DONALD NATHAN COULTER, ESQ.

****%* THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at the Fuqua
Campbell, P.A., located at 3700 Cantrell Road, Suite 205,
Little Rock, Arkansas, commencing on the 1st day of April
2024, at 9:07 a.m. ***¥**
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Jacksonville, Little Rock, Perry County and Pulaski
County.

So, essentially, the three organizations or three
entities, Perry, Pulaski County and Little Rock Library
added Maumelle, Sherwood, Jacksonville to the system under
a fairly complicated statutory framework that had to be --
an ordinance had to be approved by the municipalities of
those cities and by the counties for those two counties,
Pulaski and Perry, to join the system, and that,
essentially, has been the configuration since
approximately 1999.

Q So it was created completely by government entities?
A Yes, by municipalities, by cities to create a
separate organization to conduct library business. We
don't get our funding directly from any of those public
entities, and there were a number of places, over the
course of my tenure there, where distinctions between
those municipalities and county subdivisions of state
government, have clearly been illustrated, and, you know,
we're not a subdivision of state government, we're not a
subdivision of any of those municipalities.

We essentially, under the statute, have the authority
to run the library that those entities had. In some
instances the communities deeded their real estate to the

organization that runs the library. In two instances they
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did not.

So it's a hybrid. I think it's called an interlocal
government agreement that essentially creates the
operating rules for the library, but we are not a
subdivision of any of those municipal or county entities.
Q Okay. And I didn't print this off. I should have,
but Paragraph 14 of the Complaint says that CALS is a,
quote, "body politic."

How are you defining that, or what is your

understanding --

A I think the language is a body politic and corporate.
Q Right.

A It comes right out of the statute that creates the

opportunity for entities to form these kinds of

organizations that I've described.

Q So does CALS consider itself a government body of
sorts?

A No.

Q No?

A We obviously are funded by government sources, namely

the taxing authority of the county that I described
earlier. We get government funds, therefore, we are
subject to open records, open meetings laws. We do things
in accordance with those fastidiously, but we are not a

governmental entity in the sense that the City of Little
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Rock is.
Q Okay. And you say in a sense that the City of Little
Rock is. I mean, obviously CALS is not a city. Is there

any other, you know, comparison in the state government
you can think of, because it is a little strange to be
able to have taxing powers and say, but we're not a
government entity?

We don't have the taxing power.

Okay.

The taxing power rests in the hands of the county.

Sure.

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And under constitutional amendment, that tax revenue
under that authority is collected by the collector,
assessed and collected by the -- well, I guess it's
assessed by the treasurer, collected by the treasurer.
But -- but we, by a matter of constitutional
provision, get that money, but we can't collect that tax,
we can't enforce that. If you don't pay your property
taxes, we don't have the authority to put a lien on your
property. The county does that. We are the beneficiary
of that constitutionally-provided arrangement, but we're
not a taxing authority.
Q So you don't consider yourself subject to things like
First Amendments?

A Well, I think as any kind of entity, whether we are a
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government entity or not, we believe that our patrons are
protected by the First Amendment. We believe that the
people who expect the library to contain material they
want, and have a right, we think under constitutional law
to have access to that, we are protected by the First

Amendment, the patrons and the organization that serves

them.

Q Okay. But is CALS, itself, bound by the First
Amendment?

A Well, I'm not aware of how we would be in the

position, if I'm right, that we're not a governmental
entity, that we would be in the position of somehow being
able to enforce or impose a governmental restriction of

the sort that the First Amendment precludes.

Q So it's no?

A Maybe you can help me out.

Q Sure.

A That the library could engage in unconstitutional

acts of the First Amendment, so that we would be prevented
from doing that? I mean, give me a -- help me with some
illustration of how that might come into play.

Q Sure. Just generally speaking, does CALS have
speaking events, where speakers come and present topics?

A Yes.

Q So let's take, for example, one of those speakers
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comes up and is speaking, and then, you know, starts
talking about some viewpoint that --

A Right.

Q -- that CALS made and the library may disagree with
and say, all right, you're out of here, you don't get to
speak anymore. I think that would be, pretty clearly, a
viewpoint-based discrimination?

A Yes. Yes.

Q Is CALS allowed to do that based on the viewpoint?
A Well, the public library has been held to be a
limited public forum in scores and scores of cases, so we
believe that under that doctrine, if we allow certain
things, certain speakers, we can't pick and choose based
on content.

So, yes, in that instance that you just described,
and subject to that doctrine of limited public forum --
the library can decide, for example, that we're not going
to allow people to post things on our bulletin board, for
whatever reason.

Q Right.

A But if we allow some people to post things on our
bulletin board, then everybody can. For example, you
could probably go out to the Perry County Library in some
interval and find that people have posted things for the

Republican Party Committee of Perry County or a variety of
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other things like that.

The library has rules about how long you can have
that up and a forum of what you can put up, but the
library doesn't police the content of that. So I guess in
your hypothetical, yes, the library would be prevented
from exercising some sort of content-based, even as a
limited public forum would be prevented from doing
something of that sort.

Q And the reason I'm trying to tease this out a little
bit, so thank you for kind of going into this hypothetical
with me, is -- and because the First Amendment only

applies to government action, it does not apply to private

action, and my understanding earlier is you said the

lib -- that CALS was not a public entity or a part of --
A It is not a government entity.

Q Okay.

A It is a -- it is a -- it is governed by certain

public rules and regulations because it uses public money,
but it's not a government entity in the sense that the
City of Little Rock is, the State of Arkansas is, the
Department of Education, for example, of the Executive
Branch of the Arkansas State Government, et cetera.

Q Okay. And so -- I mean, the only reason that you're
saying that it would be, you know, bound by the First

Amendment, is because it collects some real estate tax
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revenue? Or not even collect. It's given that, I think
is what you said earlier, by the county government.

A Well, I think what I've said is that under doctrine
it says a public library is not quite a town square, but
it is a limited public forum, then we have to follow that
interpretation application of the First Amendment to say
that I can't go out to the library and take down -- let's
say my hypothetical, the Democratic Party of Perry
County's Committee notices and leave out the Republican
Party's notices.

Q Okay.

A So in that sense we are bound by the First Amendment,
you're correct, but we are not an arm of the government in
the way that the Department of Education is in the State
of Arkansas.

Q And as you know we have to be precise as lawyers on
this side, and so I feel -- and I'm not trying to nitpick.
You said in the way. I mean, is there a different way in
which --

A Well, I think I -- I mean, obviously I've read the
briefs, I've read the opinion.

Q Sure.

A I've read -- I was at the oral argument. I mean, I
understand you would like to say that my library is

engaged in government speech and we don't, as our lawyers
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have made clear, and I think at this point the court has
made clear, we don't think that's the role of the library.

We're not putting out books as some sort of director
from the State of Arkansas, or from the City of Little
Rock or Pulaski County or Perry County. That's not the
public library as an institution of, you know, 175 years
in the United States. It's publicly funded, but it's not
engaged in government speech.

It's not -- you know, if that were the case,
hypothetically, the people who have advanced this bill
should just give us a list, every biannual legislative
session, of books that would be appropriate for the
publicly-funded library to collect and no others and then,
you know -- that's the logical extension of your argument.
Q Sure. But I'm asking a question that I think it's a
step before --

A All right.
Q -- the government speech part.

You said that CALS and the public libraries are not a
government entity in the same way, or in the same manner
as, you know, city, county governments.

Is there another way in which they are connected?

A If you said, Nate, are you a government employee, I
mean, I work for an entity that's publicly funded, so in

that sense I have an obligation to transparency and to
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comply with the laws that govern public records, public
meetings. I have an obligation in the kind of ways that I
think all public servants do, to be fiscally responsible
and good stewards of the public money. It's not my money;
it's the taxpayers' money and I have to spend it
accordingly.

So in that sense, yes, we are acting on behalf of the
community to collect books and other items that the
community has a right to see, read, peruse, review, and we
are serving in that collective role with government money
in a way that, you know, some people might think of as a
government adjacent activity.

Q Okay. I'11 move on from that line with -- well, I
say move on, but it is the next point in my outline, it's
somewhat related.

So we did get an organizational chart. I won't put
that into the record here. Well, I might as well put it

into the record here, so we're all operating from the same

thing.
A It would help me.
Q Yes. That's unfair, you don't need to have to

memorize all of this.
A Thank you.
Q All right. I'11 mark this as Exhibit 1.

(Exhibit No. 1 was marked & attached hereto.)
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Sorry it is small. That is how it came through.
A I don't think that's your fault.

MR. ADAMS: Just by way of a heads-up, I
may need to take a short break in a little
while.

MR. WATSON: Do we want to take one now?

MR. ADAMS: No.

BY MR. WATSON:

Q The only thing I wanted to ask you about,

Mr. Coulter, is the top box here, CALS' Board of Trustees.
First of all, it has you as the Executive Director. I was
going through the Articles of Incorporation and it
mentioned president, vice president, secretary, treasurer

of CALS, but I don't see them on this chart. Where would

they fit?
A Those are the officers of the board, so they would be
the leadership of the -- the executive leadership, I

guess, of the Board of Trustees, so they would be subsumed
in that first box.

Q Okay. And then how does a person become a member on
the board?

A In that agreement that I described earlier that the
various municipalities and counties had to adopt by
ordinance and they each explicitly adopted the ordinance

in toto, it sets out the 13 board members and the
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Q Okay. And when we were talking earlier about
litigation that CALS has been involved in, it was a pretty
limited number. So what are those expenses going to?
A Well, I think one of the reasons why I can tell you
that we're not involved in lawsuits, is because we hire
lawyers to give us advice and make choices that prevent,
eliminate -- you know, we're spending money on lawyers
prophylactically, rather than paying lawyers like John and
Bettina to litigate.
Q Fair enough.
A But, obviously, we have --

MS. BROWNSTEIN: I'm not getting paid, for

the record.

A -- we have 300 and some odd employees. We have
compliance issues with all sorts of employment
regulations, so we are regularly communicating with the
employment counsel. We have certain obligations for our
pension plan that we have to talk to lawyers about
regularly. Obviously we're obligated under workers'
compensation and from time to time we have employees who
have accidents and all sorts of things that organizations
the size of ours would encounter that have implications
that prudent management seeks counsel for.
Q Okay. And does CALS have an in-house counsel?

A No.
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Q Now, I want to transition into some of CALS'
policies. So I'm marking this as Exhibit No. 3.
(Exhibit No. 3 was marked & attached hereto.)

So, Mr. Coulter, what document have I just handed
you?
A This is the Board's Policy No. 300, which sets forth
the criteria for how the library collects materials.
Q Okay. And having policies about the selection of
library materials, is that a common practice among
libraries?
A Yes.
Q Are you aware of any libraries in Arkansas who don't
have such a practice or such a policy?
A No.
Q I just have a couple of questions specifically about

this. So on the second page, CALS' 2, the first bullet
point under selection of criteria -- I'll give you a
moment to read that, if you'd like.

A You're looking at: "Selectors respond to community

interests by careful consideration of patron requests for

purchases --
Q Yes, sir.
A -- use patterns for existing materials, purchase

trends of similar materials by peer libraries, and any

other source of information indicating community
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interests"?

Q The phrase, "community interest," is used there.

What does that mean?

A I think that means if there is an interest in the

community in reading or having, in the collection, certain

Material, because there's been an expressed interest in

having that available. That's what that refers to.
Obviously, there are a number of subcommunities

within our service area who have different interests in

books about fauna or butterflies or doll collections, et

cetera.
Q Okay. So the last bullet point there, and I'll read
it. It says: "CALS' staff is encouraged to recommend

titles and subjects to be purchased for their branches
based on the knowledge of their patrons' needs and
interests."

Is there a difference between that criteria and the
first one we just read or are those sort of saying the
same thing?

A Well, they are overlapping. I think with regard to
the first bullet point, it's probably more of an
indication of the people for whom, if you pull out the
Exhibit 1, who are tasked with the responsibility for
essentially collecting the materials, those people.

That's -- that's their sole job, is to keep one -- and you
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library branch managers and the assistant managers about
what their community, their neighborhood, their users
want.

And I guess it's obviously possible that some books
might continue to circulate reasonably well in some

branches, but not others.

Q But at the end of the day, it's pretty much the
discretion of the -- and I forgot the title of her
position.

A The collection development manager.

Q It's in her discretion?

A In consultation with her staff and the branch

Managers. She's also the authority on the policy of
where -- and obviously it's a rolling exercise, to some
extent, you know, like painting the Brooklyn Bridge or

Golden Gate Bridge. You know, you start here and by the

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time you get to the other end, you may need to go back and

start painting again on the other end, so it's a process

that goes on constantly.

Q Right. All right. You can set that one aside. I'm

going to move on to the reorganization policy that you
mentioned just a little bit ago. This is Bates No. 5 on
CALS production, if anybody on Zoom wants to take a look.

(Exhibit No. 4 was marked & attached hereto.)

All right. Mr. Coulter, what have I just handed you?
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A CALS Board policy 301, styled "Reconsideration of
Library Materials."
Q And is this, again, a common policy libraries have?
A Yes.
Q Are you aware of any library in Arkansas that does
not have a policy like this?
A No.
Q I also see revisions were made, you know, somewhat
recently, in September of '23.
A Yes.
Q Are you aware of what those revisions entailed?
A Yes. That, again, would have been as a result of our

anticipating the implementation of Act 372 and our review
of the policies that we thought were going to be
implicated in that enactment.

In part, because this is a shorter policy and I am
able to look at it and tell you a couple of things that I
can readily identify that were modified, we prepared a
modification in July. Obviously the court's order of
July 29th affected the enactment -- the effective dates of
Sections 1 and 5, but, nevertheless, we went ahead and
made some -- what we thought were improvements,
clarifications to board policy recommended to the board
and they approved them, as you see there, on

September 28th.
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Q Right.

A Some things that we thought were products of the
effort we'd made to review it, as often happens, you know,
when you're forced to look at something carefully and
that's what we did.

Q So when you said you made changes to it because of
Act 372, was this to come into compliance with Act 372?

A Well, by the time these changes were made,
recommended and adopted, 372, for our purposes that
relates to this, had been enjoined.

Q Right.

A So in the event that injunction is dissolved or
reversed on appeal, then obviously we'd go back to where
we were in July of 2023 with regard to anticipating
implementation. But what changes were recommended and
approved by the board in September of last year, were just
changes that we believed, independently of the enjoined
Act, made some sense.

For example, I think we had a policy. There's an
administrative procedure referred to here, Administrative
Procedure 301, which I think was produced, that works hand
in glove with this policy of the board. And I think we
had some confusion between the various boards and
administrative documents about how clear it was, that you

had to be a cardholder and a resident of the system to
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request reconsideration.

Just on that point, it became -- again, we were
concerned because of Ms. Chilcoat's email. We were a bit
concerned because of the things that I've discussed
earlier that were obviously happening around the state.

We were concerned about the legislative hearing
process and the testimony of the sponsors, that there
might well be people who traveled around and filed
requests for reconsideration without regard to whether
that was their library or not, and as I recall in the
house judiciary committee, the lead senate sponsor was
asked would that be a problem and he said he didn't
believe so.

So we were anticipating there might be a group of
crusaders that might go library to library and file these
requests and we, in part, on the advice suggested in
Jennifer Chilcoat's email, and on our reflection, thought
there's no reason why somebody from Blytheville, Arkansas
can swoop into Little Rock and start filing requests, so
we made it clear that you had to be a current cardholder
in good standing who lives in the service area in order to
file one of these.

I think we also specified that a little bit of the
process would be that there would be three library

professionals. The statute uses that number. I think we
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had in practice that there were typically three people in
a committee that would serve the process of looking at the
content that had been challenged and then making a
recommendation to the executive director.

So we were largely doing what the statute spelled
out, but we wanted to make clear that the cardholder had
to be somebody in the service area and we also -- or that
had a card. You can have a card and you don't live in the
service area if you pay the annual non-resident fee. So
that would qualify as well.

But we also specified the time for appealing the
decision and we set out -- I think this was a
board-initiated addition, that the item wouldn't be
reviewed again for five years once it had been reviewed.
So those were the changes that were made, as I can recall

off the top of my head.

Q Thank you for that.
A One of the things I just now recalled.
Q Okay.

A Ms. Chilcoat's email highlighted the issue of whether
or not, under Act 372, a library should allow something to
remain in circulation pending the review process, and,
again, because she had warned people that there were going
to be a number of these challenges once the statute went

into effect, she had suggested that you might need to take
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a count of how many books you might either pull because
they're under review.

In some instances, if you had a small staff, would
you have to buy books if you kept them in the circulation
while you're reviewing them? Those kinds of issues were
rolling around in that memo and in the conversations
people were having in our library, so we set out that
during the pendency of the review, that it would stay --
it would remain in the circulation.

Q As I read through this policy, I don't see any limit
on what the basis of reconsideration requests would be.

Is that right?

A Yes. And in the statute, as you're well aware, it
just said someone affected by the material could challenge
it as inappropriate, and as you also know, inappropriate
is not defined. So in one of our conversations we were
trying to describe for -- because the legislature hadn't
provided any content or direction, what does it mean to be
affected by? So I think we were going to have come up
with some sort of criteria to determine whether you were,
in fact, affected by.

For example, am I affected by, because I live in
Blytheville, but I just don't like Gender Queer? I've
heard it's a book that people are offended by, so I'm

going to drive to Little Rock and ask that they take it
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out. Am I affected by because I'm a parent of a
fourteen-year-old or twelve-year-old, or an eight-year-old
who lives in the service area and who might see that book?
There was no guidance what constituted affected by
and that was the language used in the statute. Likewise,
with regard to appropriateness of it, we didn't have any
guidance on that, so we -- because of the ruling, we
didn't have to contend with that.
Q Sure. And you mentioned the word appropriate being
used in the statute, and we don't have to get into, you
know, what does the statute exactly mean.
A I don't know.
Q There is, of course, a discrepancy between the
Defendants and the Plaintiffs on that issue. If
appropriate just meant appropriate under the library's own
criteria of selection, would you be bringing this case on
that issue specifically?
A Well, that was not the conversation that was had by
the sponsors that promoted this legislation. In fact,
when I sat through the committee hearing, it was clear to
me it wasn't going to be governed by what our
consideration is, our collection criteria.
In fact, what was abundantly clear to me was that the
sponsor was motivated because his constituents, the ones

he was listening to and moved by, were exceedingly
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displeased with the outcome of the standard
reconsideration process that was going on in Leslie, Cabot
or Jonesboro, or Saline County, and they didn't like those
outcomes, so their solution was to change the process to
not have it end in the library board, and to essentially
turn it over to the elected officials.

And the chief sponsor in the senate said, and I think
you indicated in oral argument on the 25th of July that
this process was, in effect, created to allow elected
officials, who, as the sponsor has said over and over, are
accountable to the public. The library board is not
accountable, he says over and over, and that's where we
want this process to end.

That was the view of the proponents, so that's why we
were concerned. We're saying, in essence, we don't have
any guideline in the statute, the statute does not say
that it will be the library's criteria for selection that
goes to the elected body that's going to make the decision
that specifies the things, including the recommendation
from the county judge or the mayor and other items, but
none of those include the selection criteria of the
library.

So I think it's fair our inference was, and I think
the judge has, at least, so far agreed, that it was not

going to be based on the criteria of the library and I
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think the reason, as a practical conclusion that's
supported by the context, is if you were content to have
that be the criteria that govern these reconsiderations,
then the system was working well.

I mean, libraries were reviewing their requests as
they got them and they were applying their criteria as
they had adopted them, and I think in most instances, as
this was true in the scattering of reconsideration
requests since I'd been there, those items were remaining
in the collection because they were, in fact, consistent
with the selection criteria.

So the takeaway is that the political process turned
a different direction. We don't like those outcomes, we
want a different body to decide and, in fact, we want one
that is clearly influenced by popular opinion in these
communities.

And I think your answer, and the state senator's
answer in committee, was that's the way it ought to work
in America, and if people don't like the books that get
pulled out of the library or relocated or put in the smut
room by their county quorum court, then they just elect
different people to the county quorum court. So that's
what drove us there .

Q And I certainly appreciate all those concerns, and I

know there's the disagreement on interpretation, but if
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that was the interpretation, what I said, that the reason
that it could be withdrawn or removed from the general
circulation, and the only basis for that was the library's
own criteria of selection, would you be challenging that
one issue?

A Well, I think it -- we've challenged it and I think
that's where we are, is what we're doing because that's --
that's not clear. I mean, if the State of Arkansas, the
Attorney General was to willing to enter a consent
judgment saying that only the criteria of the library
would be considered, not any of the things that are
specified in the statute and not any of the things that
have been heralded by the sponsors of the statute, then
Maybe that would resolve this dispute if we were
confident.

But I think it's obvious, too, if you look at what's
happening in Crawford County, look at what's happened in
Saline County, these people in the quorum court who didn't
ask for this -- and I understand Judge Keith said this was
a headache he didn't want.

They know the political pressure is going to come to
get these books out, regardless of what the selection
criteria may say. Whatever the selection criteria was in
April of 1956 and reflected in Policy 300, is not going to

Matter if there are a bunch of people clamoring to remove
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these books and they believe it's their obligation to
preserve their way of life and their values and they're
going to impose on these quorum court members.

Watch the meetings in the Quorum Court in Saline
County, where people were haranguing the quorum court
members, that you have an obligation as a Christian to get
this out of the collection, et cetera. That's the focus
of where we are.

If someone is willing in the state to say to the
Defendants, no, no, you and Judge Brooks have construed
this wrong, we're fine to just let the criteria be what's
applied, then we might be in a different place, but that's
a hypothetical and I don't think it's going to come to
pass.

Q All right. Just so we're clear, if that hypothetical
existed, the answer would be, no, you would not have
challenged it, the interpretation?

A Well, I don't know how we go back to make a
hypothetical apply. If I hadn't heard the testimony, if
the state senator had hadn't gone on Conduit News and
other places that they've had him and said what he said
over and over and over about we want these elected
officials to decide, and I hadn't been paying attention,
and had been on the dark side of Pluto or whatever it is

and didn't know that there was enormous political
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pressure, not just in this jurisdiction, but all over this
country by groups called Moms for Liberty and others to
bring these fights to the doorstep of the heretofore
fairly low-profile public libraries across the country,
you know, maybe.

If your stipulation or your hypothetical is if I
don't live in the real world I live in and I had been
living in that real world, I had been paying attention,
and I take people for their -- I take people at their
word. If he says this is what we're about, then I think
that's what they're about.

Q Okay. Thank you for that.

Does the board set these policies, the
reconsideration policies?

A Correct, but not the administrative procedure
policies.

MR. WATSON: And I'll have to go back and
check. I'm not sure we got 301, but I might
have missed that.

MR. ADAMS: We'll go back and check.

MR. WATSON: Because I didn't notice any
policy related to reconsideration --
administrative policy or procedure, excuse me.

A I can tell you that essentially 301 just spells out

what the form will have on it, and details the sorts of
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mechanics of how this operates. I think it also contains
provisions about how -- again, some of this was
enlightened -- if there was a silver lining from Act 372,
it did prompt us to think about structuring, a little more
formally, the way we review these things and I think what
we set up in that policy that we should produce --
administrative procedure we should produce, not a policy.
Set out that there would be three or four standing
committees comprised of the people in collection
development and they would form rotating members to
comprise of these committees. So it goes into that, kind
of in detail, just for the purposes of executing this
policy.
Q And we can set this policy aside.

A couple of times you mentioned Ms. Chilcoat's email.
Did she ever send a follow-up email withdrawing the
previous email that you've been mentioning?
A Yes.
Q Okay. And in that email, withdrawing the previous
email, did she go into any additional detail about why she
was withdrawing it?
A No. I saw the email late one morning, early one
afternoon. I had a series of meetings and then I came
back to my desk and saw that there was an email saying

please consider my previous email withdrawn and delete and
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been left post-Shipley, the law that was redone by Act 372
essentially prohibited disseminating or distributing
things that were harmful to minors, so in some ways we had
to make some sort of decision about that, at least
implicitly.

In the real world, as you know, and anybody else who
will come to my libraries, we don't take people of any
age, when they come in the door, and say, hey, would you
like to read Gender Queer, how about this Barbara
Kingsolver novel, it's got some sex in it? That's not the
way it goes.

And the way we read the statute, you didn't have to
do that after 372 was enacted. You just had to have it in
your library somewhere and you have to be able to keep all
the five-year-olds away from any book that might have
something of a sexual nature, that might somewhere,
someday, somehow by some combination of a zealous
prosecutor and a determination that a five-year-old is
being harmed by having access to a book that would clearly
not be a problem for a sixteen-year-old.

Q Are you familiar with CALS' Internet Use Disclaimer
and Public Computer Use Policies?

A I'm generally aware that we have one. I haven't
reviewed it.

Q I'm not going to really spend time on asking
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questions specifically about this document, but just in
candor, I'll let you take a look at it.
A All right.
Q This is going to be Exhibit 7.
(Exhibit No. 7 was marked & attached hereto.)
Okay.
And, also, I pulled this off of CALS' website.

Okay.

0 FP O P

And this is really just going to be a hyperlink to
the next point I make. So in that last paragraph, it
Says: "CALS complies with the Children's Internet
Protection Act, which requires that schools and libraries,
which receive discounted Internet access through the
E-Rate program must filter obscene and harmful content."
Did I read that correctly?
A Yes.
Q To your knowledge, does CALS comply with the
Children's Internet Protection Act?
A Absolutely. That's a condition of taking that
federal money. The Supreme Court ruled that that was a
constitutionally-permissible condition for Congress to put
on the E-Rate subsidy.
Most libraries, perhaps all in Arkansas, have made
that tradeoff and we have vendor software that is running

on all of our computers that restricts access to things
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that are protected speech for you or me, but might be
considered harmful to children.

In other words, you can't go sit down in one of our
terminals and pull up things that you have a right to look
at as a matter of looking at pornography as an adult and
we -- we have software that gets updates and is installed
on all those devices.

Q And you, perhaps, can see where I'm going with this.
Again, it's a statute, so it doesn't really need to be in
the record, but I have a copy for you, if you want to take
a look at it, and I'll mark it as Exhibit No. 8.

(Exhibit No. 8 was marked & attached hereto.)

This is a kind of long statute. I'm obviously not
going to have you read the whole thing, but if you would
flip to Subsection F(7). It's on the second to the last
page. It's got definitions.

And, again, walking through the entire thing, I'll
represent to you that these are the definitions for the

Children's Internet Protection Act.

A I'm sorry, is it F(7)?

Q I believe it's F(7), but it's on the second to the
last page.

A Page 6, at the bottom?

Q Yes, sir.

A Okay, I got it. I couldn't find the F, but I see the
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Plaintiffs in this case, is that they believe they have a
right to read books that would be considered problematic
to me as a parent of a five-year-old, and what the Act
does, is tell me, as the Library Director, you can't
provide those books to the Crawford County Plaintiff or
the woman who was a Central High junior or senior. You
can't do that because you're running the risk, in doing
that, of having your staff or you be criminally charged
because that book might be considered harmful to minors
under Arkansas law.

Q Sure. But right now I'm asking you about CALS'
implementation of the Children's Internet Protection Act,
and my reading of this statute and I think the way it --
well, my reading doesn't matter. I'm asking a factual
question about how CALS is implementing it.

MR. ADAMS: I'm going to object because I
don't think -- I mean, do we -- have we put
anything into evidence about how the CIPA
definition is actually interpreted?

MR. WATSON: Well, that's a legal question.

MR. ADAMS: Right.

MR. WATSON: Well, I'm asking about the
implementation, what CALS does, and I'm trying
to -- I poorly phrased it a couple of times, but

can I ask the question and then you can see
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if --
MR. ADAMS: Okay, go ahead.

BY MR. WATSON:
Q Okay. So in CALS' implementation of the Children's
Internet Protection Act, if a website or something on the
Internet is harmful to a five-year-old, does that mean
it's blocked for everyone?
A It's blocked for everyone, period.
Q Okay. That's all I'm asking.
A We don't make the determination, as your statute
requires of us, whether it's being blocked for a minor who
is five or a minor of sixteen, because the way the law is
written and applied and implemented by us in pursuit of
that, or in compliance with that, is it applies to every
minor, and, therefore, we don't have to try to make that
determination the way we do under Act 372 because we know
material on our shelves with sexual content is going to
arguably be harmful to some five-year-olds.

What -- what problem I have with that, is I can't
tell my staff, with any degree of confidence, you are okay
because of the way they changed the law. Before it was
changed I could because it required us to aggressively
push the content, which we don't do no matter what the
content is.

Some child wants to know where the books are on
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sharks, we try to find what they want, but we don't push
books. The way the statute stood before a year ago, and
the way some of us suggested to the general assembly that
they leave it, we could live with because we didn't have
to make a determination.

But what they did, contrary to at least one
explanation I've heard from the sponsor who has it, by my
view, exactly backwards, they weren't content with just
having it prohibit the promoting, distributing,
disseminating something that was harmful to minors. They
want it to be if it's in your space, if it's made
available.

So we take that and we take the Arkansas Supreme
Court certified ruling in response to Judge Eisele and
that harmful to minor statute applies to everybody who's a
minor, so that's recipe for chaos, at best.

Contrast that to CIPA, it's a bright line. We want
the money, the Supreme Court has said if you want that
money you have to block access to all content, whether it
might not be deemed harmful to a five-year-old or a
sixteen-year-old. It doesn't matter in that analysis
because we're blocking all of it.

And we know, and as the Rehnquist plurality opinion,
whatever it is says, that's infringing upon the

constitutional rights of some adults and they had some
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their right to read these books and for the library to
have those books on their shelves.

Their right to read and their right to access those
is impaired by the overbroad and vague provision that
essentially turns over, to elected officials, who, for the
reasons I described earlier, are going to be vulnerable to
political pressure and there's nothing in the statute, as
I noted, that says that they would use the selection
criteria that the library has set forth, that they would
use whatever they deemed to be community values.

And as a practical matter, and somebody who's been
around politics a little bit in my life, the people who
are the most animated about subjects in politics, often
times get the most response from elected officials, and if
you're an elected official and the criteria is not the
kinds of things you've been asking me questions about,
literary content, whether it's of significance
artistically to people in the community, but their only
issue is I don't want my phone to keep ringing, I don't
want people to keep emailing me about why I'm enabling the
library to groom people, or why I'm doing things that
allow obscenity in the library, so I'm just going to tell
the library that they should move this, relocate this,
withdraw this, et cetera. That's what the statute,

because of its constitutional defects is going to permit
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and that's what we're objecting to.

Q And are you aware of anyone who has said that they
intend to you, you know, lodge a challenge because of
Section 5?

A No, but, again, it's a little like I was describing
earlier with regard to the list that came from

Ms. Chilcoat. People don't have to spell out what may
motivate them if they're hearing about it, reading about
it, and, perhaps, they're getting their information from
social media about these topics and they get motivated
because they're being told things about what the library
is doing, a lot of which is misinformation, or at least
not an accurate depiction of what goes on in the library.

And, you know, what I do know, is during the
timeframe, this somewhat high-profile debate, at least in
social media, we had people who would contact our
libraries and start asking about books that happen to be
on these lists.

We had a patron in Maumelle who left a note in their
book return box saying she had checked out 53 books, I
think it was, that she believed were inappropriate and
that those books she would not be returning until we vowed
to take those out of the collection.

That was some time in the timeframe of June of last

year. So did she say, in her demand letter, I'm doing
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this because I've been following SB 81 and Act 372, no,
but do I think those things happen just coincidentally,
probably not.

Q All right. And with her, are you aware of whether
she would have been able to lodge a challenge under

Maumelle's --

A Yes. Yes.

Q Would she have been able to lodge a challenge?
A Sure. Sure.

Q Okay. That's all I've got.

MR. MCLELLAND: I've got some questions,
but I do want -- I need to review my outline.
Do we want to take a break for lunch?

MR. ADAMS: Sure, let's take a lunch break.

(Lunch recess was taken.)

EXAMINATION
BY MR. MCLELLAND:
Q Mr. Coulter, good afternoon. You realize that you're
still under oath?
A Yes.
Q And just so we have this on the record, you and I

know each other outside the context of this litigation; is
that right?
A Yes.

Q And does knowing each other in any way affect your
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are accountable to the values that librarians strive to
uphold regarding the freedom to read and intellectual
freedom. Obviously, issues of privacy and individuality,
all of which we think are relates to the point of trying
to maintain a diverse collection for the entire community,
and trying to do what we can to resist efforts to sensor
by using the government to restrict what some people in
the community might read.

So we think we're accountable to the values that
librarians uphold and libraries as a public institution
upholds, and I think we're accountable to the community to
be good stewards with their money and try to get as many
books as we can for them to circulate.

And as some of the testimony has indicated, to follow
the guidelines about making sure, as much as we can, that
things are in age appropriate places and that we are
providing assistance to adults and children who ask for
some guidance about what their particular topic of
interest is. We want to provide service too.

So we're accountable in all those ways that I think
is a broader accountability than, perhaps, others in the
community might have.

Q Okay. And I think you might be anticipating my next
question. So when I hear the word accountable, I

generally think like you report to someone who holds you
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accountable. Is there anyone that the board reports to?

A Well, in essence, the board serves at the pleasure of
the appointing entities. In our case, there is seven
Little Rock representatives. There are two from Pulaski
County, and there is a single member from Maumelle,
Sherwood, Jacksonville and Perry County.

So in each of those cases, those individuals who are
appointed by those municipalities and county governments
are representing those entities that appoint them, so they
would be accountable to the communities that appoint them
in the first instance.

But they obviously serve the system. So let's say
I'm the representative from Maumelle, but I'm accountable
to the entire service area. So they don't report in the
way that I report to the board. The board doesn't report
to the county judge or the mayor of Maumelle, but the
board is certainly serving at the pleasure of those
individuals they -- we don't have a provision, that I'm
aware of, that would allow someone in one of those
positions of appointing a board member to recall the board
member, but the board terms are three years and if someone
who's appointed didn't uphold those obligations to
represent, in this case, let's say Maumelle again, then I
would assume, in theory, that someone else would be

appointed.
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That's all I've got. Thank you.
Thank you.
As much fun as it's been, nothing from me.
MR. ADAMS: Anybody on the Zoom?
(WHEREUPON, at 3:30 p.m.,the

above deposition concluded. )

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CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF DONALD NATHAN COULTER, ESQ.

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 11th
day of April 2024.

3s No. 570 &

SA he ae ee

USO ant ws
epg,

Michelle R. Satterfield, CCR
LS Certificate No. 570
Notary Public in and for
Faulkner County, Arkansas
